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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  RESPONSES TO EPIC’S OBJECTIONS
                                              TO SPECIAL MASTER RULINGS ON
                  Defendant, Counterclaimant. APPLE INC.’S PRODUCTIONS OF RE-
                                              REVIEWED PRIVILEGED
                                              DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

       Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Responses to
Epic’s Objections to certain of the Special Masters’ rulings on Apple’s productions of re-reviewed
and privileged documents, rendered March 24, 2025. We are submitting these documents for
in-camera review contemporaneously with this filing.

        Apple’s responses relate only to documents Apple believes are not already covered by Your
Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this post-
judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to documents
affected by those rulings, including any post-judgment appellate rights.
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“Notes” and Related Documents: Entry Nos. 2621 (PRIV-APL-EG_00174828), 2622 (PRIV-
APL-EG__00174839), 2664 (PRIV-APL-EG_00175186), 2702 (PRIV-APL-EG_00175603),
2734 (PRIV-APL-EG_00175782)

        Epic objects to a category of documents it calls “Wisconsin-Related Meeting Notes from
Press Personnel.” Most of the documents in this category, however, are not meeting notes, but
rather email exchanges (or drafts of email exchanges) regarding various communications-related
issues relevant to Apple’s injunction compliance.

        PRIV-APL-EG_00174839 is a document collected from the files of a non-lawyer, with
metadata indicating it was created on April 4, 2023 (before the Ninth Circuit issued its decision on
appeal). The document contains notes of a meeting regarding the Ninth Circuit’s upcoming
decision and legal considerations for injunction compliance, and the notes contain extensive legal
advice from and discussion with attorneys regarding what is required under the Injunction and
what compliance options would be legally permissible. There is extensive discussion of litigation
strategy and possible proceedings on remand. The meeting at which these notes were taken was
organized by Apple’s General Counsel and attended by senior in-house counsel responsible for
injunction compliance. See Decl. of Marni Goldberg ¶ 4. From start to finish, the document
expressly and extensively relays the advice and opinions of legal counsel regarding Apple’s
compliance with a court-ordered injunction. It therefore falls squarely within the attorney-client
privilege. See Dolby Lab’ys Licensing Corp. v. Adobe Inc., 402 F. Supp. 3d 855, 866 (N.D. Cal.
2019); Chrimar Sys. Inc. v. Cisco Sys. Inc., 2016 WL 1595785, at *3 (N.D. Cal. Apr. 21, 2016).

        PRIV-APL-EG_00175782 is an email in which a non-lawyer circulates a chart that “Jen
[Brown] and team came up with.” Ms. Brown is in-house counsel at Apple. The chart provides a
summary and analysis of changes Apple made in response to certain regulatory requirements in
the European Union, providing legal advice to help formulate responses to press inquiries that
aligns with Apple’s legal positions and arguments made in court. The document was drafted by
in-house counsel for the purpose of providing legal advice and is therefore privileged. See
Parneros v. Barnes & Noble, Inc., 332 F.R.D. 482, 498 (S.D.N.Y. 2019); Pearlstein v. BlackBerry
Ltd., 2019 WL 1259382, at *14 (S.D.N.Y. Mar. 19, 2019).

       The remaining documents in this category—PRIV-APL-EG_00174828, PRIV-APL-
EG_00175186, and PRIV-APL-EG_00175603—are emails (or draft emails) among
communications personnel and counsel that are substantially similar (or identical) to documents
already produced to Epic. Apple will produce these documents without redaction.




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Netherlands Emails: Entry No. 2321 (PRIV-APL-EG_00172157)

        PRIV-APL-EG_00172157 is an email between two non-lawyers and Ling Lew (in-house
counsel), with other non-lawyers cc’ed. The subject-matter of the email is unclear from its face,
but a related document—PRIV-APL-EG_00172153, objected to by Epic in a footnote—makes
clear that the email thread is in support of and response to a request from Ms. Lew for information
needed to respond to requests from a competition regulator in the Netherlands. Such a request and
information provided in response is privileged. See FTC v. Boehringer Ingelheim Pharms., Inc.,
180 F. Supp. 3d 1, 30 (D.D.C. 2016) (“[F]acts collected at counsel’s request for later use in
providing legal advice are protected.”).




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Attorney Drafts of Regulatory Analysis and Advocacy: Entry Nos. 2468 (PRIV-APL-
EG_00173280), 2470 (PRIV-APL-EG_00173293)

        PRIV-APL-EG_00173280 and PRIV-APL-EG_00173293 are substantially similar to one
another. They are both attached to emails from Kyle Andeer (in-house counsel focused on
competition issues) in which Mr. Andeer sends this document to several non-lawyers, which he
indicates he drafted, that provides an outline of different changes Apple could make to its App
Store model in order to respond to regulatory inquiries in the European Union and proposed
advocacy in support of those changes. See PRIV-APL-EG_00173277; PRIV-APL-EG_00173290.
These kinds of drafts are protected by the attorney-client privilege, as they reflect express legal
advice in connection with ongoing regulatory matters. See Barnes-Wallace v. City of San Diego,
2002 WL 35646619, at *4 (S.D. Cal. Dec. 5, 2002); Diversey U.S. Holdings, Inc. v. Sara Lee
Corp., 1994 WL 71462, at *1 (N.D. Ill. Mar. 3, 1994).




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Slack Direct Message: Entry No. 2514 (PRIV-APL-EG_00173574)

       PRIV-APL-EG_00173574 is a one-page Slack direct message among non-lawyers
regarding certain draft language for use in connection with changes to the App Store in the
Netherlands in response to regulatory requirements. The document is privileged because the
non-lawyers discuss seeking approval from legal before finalizing the language. Confidential
information sent to legal for approval is protected by the attorney-client privilege, see In re Meta
Healthcare Litig., 2024 WL 3381029, at *2 (N.D. Cal. July 10, 2024), as is a communication
among non-lawyers evidencing an intent to seek legal advice on an issue, see Dolby Lab’ys
Licensing Corp., 402 F. Supp. 3d at 866.




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DATED: April 1, 2025                    WEIL, GOTSHAL & MANGES LLP
                                        By: /s/ Mark A. Perry
                                        Counsel for Defendant Apple Inc.




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